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                      EXHIBIT M
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


 FREDRIC N. ESHELMAN,

         Plaintiff,
                                                     Case No. 4:20-cv-04034
 v.
                                                     JURY DEMANDED
 TRUE THE VOTE, INC. ,


         Defendant.


                  DECLARATION OF TIM WILSON IN SUPPORT OF
               PLAINTIFF'S MOTION FOR PRELIMINARY I JUNCTION

        1.      My name is Tim Wilson. I am of legal age and othe1wise competent to make this

declaration.

        2.      I am a private investigator licensed by the State of Texas.

        3.      All of the facts stated in this declaration are trne and correct and are based on my

personal knowledge. I acquired my personal knowledge during the course and scope of my work

as a private investigator retained by counsel for Plaintiff Frederic N. Eshelman to locate and

serve the registered agent for True the Vote, Inc.

        4.      I made numerous attempts to locate Catherine Engelbrecht, who pmports to be

Defendant True the Vote's founder, Executive Director, and registered agent.

        5.      True the Vote, Inc. represents to the Texas Secretary of State that its address is

18720 FM 249, Suite A, Houston, Texas, 77070. I visited that address, but it is a tax office with

a sign on the door stating that the office is closed until tax season. I saw no evidence that the

office is occupied by Defendant True the Vote, Inc.



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       6.      I next visited the address of True the Vote, Inc. ' s registered agent, which,

according to the Texas Secretary of State, is 7232 Wynnwood Lane, Houston, Texas 77008-

6041. That address is occupied by a Camp Bow Wow dog daycare and boarding facility that has

not heard of Ms. Engelbrecht or True the Vote, Inc.

       7.      Despite having made other efforts to locate Ms. Engelbrecht, including visiting

her home address, I have been unable to locate her.

       8.      I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

       Executed in ~~ Texas on                 ~/~'2.__-~l_'.2___---..~-' 2020.




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